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                       UNITED STATES DISTRICT COURT                        FILED
                     SOUTHERN DISTRICT OF CALIFORN A
                                                                           MAR 1 4 2012       I
                                                                     CW:RK us DISTRICT COURT
UNITED STATES OF AMERICA,                   CASE NO.                 'fI-I:RN TRleT Of CALIFORNIA
                                                                BY                            DEPUTY
                      Plaintiff,
               vs.                          JUDGMENT OF DISMISSAL
ADRIANA LUS GALLEGOS{l),

                      Defendant.


          IT APPEARING that the defendant is now entit                 to be discharged
for the reason that:

__
 X__ an indictment has been filed in another case aga   t the defendant and
     the Court has granted the motion of the Government for dismissal of
     this case, without prejudice; or

     the Court has dismissed the case for unnecessary delay; or

     the Court has granted the motion of the Government for dismissal,
     without prejudice: or

     the Court has granted the motion of the defendant for a judgment of
     acquittal; or

     a jury has been waived, and the Court has found the defendant not
     guilty; or

     the jury has returned its verdict, finding the defendant not guilty:

     of the offense{s) as charged in the Indictment/Information:

     8:1324{a) (I) (A) (iii) and (v) (II) - Attempting to Harbor Illegal Aliens

     and Aiding and Abetting

          IT IS THEREFORE ADJUDGED                              is hereby discharged.


 DATED: MARCH 14, 2012
                                                  S. CRAWFORD
                                            UNITED STATES MAGISTRATE JUDGE
